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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                            for the
                                                   Southern District of New York

  RENELIO PEREZ, an indiviudal, and OLD MUSIC                 )
         LIVE, a limited liablity company,                    )
                                                              )
                                                              )
                            Plaintijf(s)                      )
                                                              )
                     v.                                       )
                                                                      Civil Action No.
  RAUL ALEJANDRO OCASIO RUIZ (p/k/a RAUW                      )
   ALEJANDRO), an individual, and DOES 1-10,                  )
                                                              )
                                                              )
                           Defendant(s)                       )

                                                SUMMONS IN A CML ACTION

To·• (De1-fiendant's name and addressV RAUL ALEJANDRO OCASIO RUIZ (p/k/a RAUW ALEJANDRO)
                                       c/o Sensei Business Publishing LLC
                                       c/o Blilie Law (Registered Agent)
                                       429 Lenox Ave.
                                       Miami Beach, FL 33139



          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it)-or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
                                Albert J. Soler
                                Scarinci Hollenbck
                                519 8th Ave., 25th Floor
                                New York, NY 10018


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                         CLERK OF COURT


Date:      2/13/2024                                                         /s/ J. Gonzalez
                                                                                   Signature of Clerk or Deputy Clerk
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